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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
PAUL J. MANAFORT, JR.,                          )
                                                )
                       Plaintiff,               )
                                                               Civ. No. 1:18-CV-00011-ABJ
                                                )
                  v.                            )
                                                               Judge Amy Berman Jackson
                                                )
UNITED STATES DEPARTMENT OF                     )
JUSTICE, et al.,                                )
                                                )
                       Defendants.              )
                                                )

      PLAINTIFF’S SUPPLEMENTAL MEMORANDUM OF LAW REGARDING
                     SUBJECT-MATTER JURISDICTION

       Plaintiff Paul J. Manafort, Jr. respectfully submits this supplemental memorandum in

response to this Court’s order of April 5, 2018, which sought briefing on subject-matter

jurisdiction.1 Count I of Mr. Manafort’s Complaint presents a live controversy about whether the

Special Counsel’s ongoing investigation is authorized, without any need for relief in connection

with pending indictments. This Court has jurisdiction to reach the merits.

I.     COUNT I REMAINS A LIVE CONTROVERSY

       An Article III controversy existed at this case’s outset. The investigatory powers the

Appointment Order purports to grant the Special Counsel—powers the Acting Attorney General

lacked authority to grant—target Mr. Manafort. The Special Counsel has exercised those powers

to Mr. Manafort’s detriment, executing multiple search warrants, including a search of his

private residence, issuing subpoenas, and taking other actions with no conceivable relation to

alleged coordination between the Trump campaign and Russian officials. Mr. Manafort seeks an

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  Mr. Manafort also stands ready to provide additional briefing on jurisdictional issues
concerning the APA, should the Court desire such briefing. Further, to the extent the Court finds
any deficiencies, Mr. Manafort respectfully requests leave to amend his complaint.
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order setting aside Paragraph (b)(ii) of the Appointment Order and declaring it invalid, arbitrary

and capricious, an abuse of discretion, and otherwise not in accordance with law, Compl. at 17—

which would provide him relief from the Special Counsel’s future actions pursuant to Paragraph

(b)(ii). The three elements of Article III standing—injury-in-fact, causation, and redressability—

have each been met here and continue to exist.

       The controversy remains live. A “case ‘becomes moot only when it is impossible for a

court to grant any effectual relief whatever to the prevailing party.’ ” Chafin v. Chafin, 568 U.S.

165, 172 (2013) (emphasis added) (quoting Knox v. Serv. Emps. Int’l Union, Local 1000, 567

U.S. 298, 307 (2012)). A “party asserting mootness” bears a “heavy burden.” Friends of the

Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quoting United States

v. Concentrated Phosphate Exp. Ass’n, 393 U.S. 199, 203 (1968)). “[S]ubsequent events” moot

a case only if it is “absolutely clear that the allegedly wrongful behavior could not reasonably be

expected to recur.”     Friends of the Earth, 528 U.S. at 189 (emphasis added) (quoting

Concentrated Phosphate Exp. Ass’n, 393 U.S. at 203).

       The Special Counsel cannot meet the heavy burden of showing that such unauthorized

investigations “could not be reasonably expected to recur.” Friends of the Earth, 528 U.S. at

189. To the contrary, that harm is ongoing now. The Special Counsel continues to unlawfully

investigate Mr. Manafort under Paragraph (b)(ii), and has recently executed a search warrant to

that end. See United States v. Manafort, No. 1:17-cr-00201, Dkt. 253 (D.D.C. Apr. 5, 2018).

       Count I seeks an order setting aside Paragraph (b)(ii). That order would give Mr.

Manafort partial relief: It would not eliminate past effects, but it would prevent future ultra vires

conduct by the Special Counsel pursuant to Paragraph (b)(ii). Even “a ‘partial remedy’ is

‘sufficient to prevent [a] case from being moot.’ ” Calderon v. Moore, 518 U.S. 149, 150 (1996)




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(quotation omitted). Because relief on Count I would partially remedy ongoing injuries, that

count remains live, without regard to the pending indictments.

II.    COUNT I IS RIPE FOR IMMEDIATE REVIEW

       The ripeness doctrine “has both constitutional and prudential facets.” Perry Capital LLC

v. Mnuchin, 864 F.3d 591, 632 (D.C. Cir. 2017). Count I easily satisfies both aspects.

       A.      Constitutional Ripeness

       Ripeness under Article III requires “that an injury in fact be certainly impending.” Nat’l

Treasury Emps. Union v. United States, 101 F.3d 1423, 1427 (D.C. Cir. 1996). To meet that

standard, Mr. Manafort need show only that he is “ ‘under threat of suffering “injury in fact” that

is concrete and particularized [and] the threat [is] actual and imminent, not conjectural or

hypothetical.’ ” Chlorine Inst., Inc. v. Fed. R.R. Admin., 718 F.3d 922, 927 (D.C. Cir. 2013)

(quoting Nat’l Ass’n of Home Builders v. EPA, 667 F.3d 6, 12 (D.C. Cir. 2011)).

       This case amply meets those standards: The Special Counsel is, right now, investigating

Mr. Manafort for purported crimes unrelated to alleged coordination between the Trump cam-

paign and Russian officials. See p. 2, supra. The ongoing investigation itself—and the unlawful

invasion of Mr. Manafort’s privacy caused by it—is a sufficiently “concrete and particularized”

injury-in-fact. Chlorine Inst., 718 F.3d at 927. Nor is there doubt that the harm is “actual and

imminent.” Id. That, moreover, is wholly apart from the further injury that will result if the

ultra vires investigation becomes another ultra vires prosecution.

       B.      Prudential Ripeness

       Count I also satisfies prudential standards. Courts “evaluate (1) the fitness of the issues

for judicial decision and (2) the hardship to the parties of withholding court consideration.”

Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003) (citing Abbott Labs. v.

Gardner, 387 U.S. 136, 149 (1967)). Both factors support review here.


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       1.      The Case Is Fit for Judicial Decision. Courts weighing the “fitness of an issue for

judicial decision” consider “ ‘whether [the issue] is purely legal, whether consideration of the

issue would benefit from a more concrete setting, and whether the agency’s action is sufficiently

final.’ ” Devia v. Nuclear Regulatory Comm’n, 492 F.3d 421, 424 (D.C. Cir. 2007) (quoting Atl.

States Legal Found., Inc. v. EPA, 325 F.3d 281, 284 (D.C. Cir. 2003)).

       Those standards, too, are amply met. Count I involves a pure question of law: It alleges

that Paragraph (b)(ii) of the Appointment Order, on its face, exceeds the bounds of the Acting

Attorney General’s authority under the Special Counsel Regulations. Such “[c]laims that an

agency’s action is . . . contrary to law present purely legal issues.” Atl. States Legal Found., 325

F.3d at 284. And a “purely legal claim in the context of a facial challenge” is “ ‘presumptively

reviewable.’ ” Nat’l Ass’n of Home Builders v. U.S. Army Corps. of Eng’rs, 417 F.3d 1272, 1282

(D.C. Cir. 2005) (quotation omitted).

       Likewise, it is hard to imagine a more “concrete setting” for review. Devia, 492 F.3d at

424. To decide Mr. Manafort’s challenge to Paragraph (b)(ii), all the Court needs are the terms

of the Appointment Order, the text of the Special Counsel Regulations, and the statutory

provisions they implement. “No further factual development is necessary to evaluate [Mr.

Manafort’s] challenge.” Nat’l Ass’n of Home Builders, 417 F.3d at 1282.

       And the action under review—the issuance of the Appointment Order being challenged

here—is undoubtedly final. See Pl.’s Mem. of Law in Opp’n to Defs.’ Mot. To Dismiss, at 30-

31. Agency action is final if it “mark[s] the ‘consummation’ of the agency’s decisionmaking

process” and if “legal consequences will flow” from that action. Bennett v. Spear, 520 U.S. 154,

178 (1997) (quotations omitted). Here, the Appointment Order conclusively granted the Special

Counsel prosecutorial authority, consummating DOJ’s decision about whether to grant original




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jurisdiction and the scope of the original jurisdiction it would grant. Id. And that conclusive

action virtually guaranteed that legal consequences would follow for individuals associated with

the Trump campaign—as they did in fact soon follow for Mr. Manafort, see Compl. ¶ 42.

Because Count I challenges final agency action by raising a purely legal question in a concrete

setting, it is entirely “fit[ ] . . . for judicial decision.” Nat’l Park Hosp. Ass’n, 538 U.S. at 808.

        2.       Postponing Review Will Cause Substantial Hardship. The second factor—the

“hardship to the parties of withholding court consideration,” Nat’l Park Hosp. Ass’n, 538 U.S. at

808—also supports immediate review. Postponing review would impose severe hardships on

Mr. Manafort. Without the relief sought by Count I, Mr. Manafort will continue to face the brunt

of the Special Counsel’s ultra vires authority, including additional search warrants, subpoenas,

and possible indictments. Postponing review will thus result in onerous hardships for Mr.

Manafort.

        No countervailing interest favors postponement. The “classic institutional reason to

postpone review”—the “need to wait for ‘a rule to be applied [to see] what its effect will be’ ”—

has no application here because the Appointment Order’s effects on Mr. Manafort are already

clear. La. Envtl. Action Network v. Browner, 87 F.3d 1379, 1385 (D.C. Cir. 1996) (alteration in

original) (quotation omitted). The Special Counsel is fervently pursuing Mr. Manafort for

matters unrelated to alleged coordination with Russian officials. And “conservation of judicial

resources,” Am. Petroleum Inst. v. EPA, 683 F.3d 382, 389 (D.C. Cir. 2012), favors review: This

issue is best resolved now, before more resources are poured into these matters unnecessarily.




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Dated:   April 11, 2018                 Respectfully submitted,


                                        /s/ Kevin M. Downing
                                        Kevin M. Downing
                                        (D.C. Bar #1013894)
                                        Law Office of Kevin M. Downing
                                        601 New Jersey Avenue, N.W.
                                        Suite 620
                                        Washington, D.C. 20001
                                        Telephone: (202) 754-1992
                                        Email: kevindowning@kdowninglaw.com

                                        /s/ Thomas E. Zehnle
                                        Thomas E. Zehnle
                                        (D.C. Bar #415556)
                                        Law Office of Thomas E. Zehnle
                                        601 New Jersey Avenue, N.W.
                                        Suite 620
                                        Washington, D.C. 20001
                                        Telephone: (202) 368-4668
                                        Email: tezehnle@gmail.com

                                        Counsel for Plaintiff Paul J. Manafort, Jr.
